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                               UNITED STATES DISTRICT COURT
                                    DISTRICT OF MAINE


JANE DOE and MAINE HUMAN     )
RIGHTS COMMISISON,           )
                             )
         Plaintiffs          )
v.                           )                        No. 2:15-cv-257-DBH
                             )
BRUNSWICK SCHOOL DEPARTMENT, )
et al.,                      )
                             )
         Defendants          )



          MEMORANDUM DECISION AND ORDER ON DISCOVERY DISPUTE


       In this civil rights action, the parties have filed simultaneous letter briefs and responses in

accordance with the terms of my Report of Hearing and Order Re: Scheduling (ECF No. 17)

addressing the defendants’ request for production of the records of two therapists who have treated

the plaintiff’s minor son, who is the victim of the alleged discrimination that gives rise to this

lawsuit. Treating the discovery dispute as a motion by the defendants to compel production of the

requested records, I deny the motion, but only upon certain specific conditions.

                                I.   Applicable Legal Standards

       Rule 26(b) of the Federal Rules of Civil Procedure outlines the general scope of permissible

discovery in a civil action.

       Unless otherwise limited by court order, the scope of discovery is as follows:
       Parties may obtain discovery regarding any nonprivileged matter that is relevant to
       any party’s claim or defense and proportional to the needs of the case, considering
       the importance of the issues at stake in the action, the amount in controversy, the
       parties’ relative access to relevant information, the parties’ resources, the
       importance of the discovery in resolving the issues, and whether the burden or
       expense of the proposed discovery outweighs its likely benefit. Information within
       this scope of discovery need not be admissible in evidence to be discoverable.


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Fed. R. Civ. P. 26(b)(1).

       “[A] party resisting discovery has the burden of showing some sufficient reason why

discovery should not be allowed[.]” Flag Fables, Inc. v. Jean Ann’s Country Flags & Crafts, Inc.,

730 F. Supp. 1165, 1186 D. Mass. 1989) (citation and internal quotation marks omitted). In

addition, the proponent of a privilege bears the burden of demonstrating entitlement to its

protection. See, e.g., In re Keeper of Records (Grand Jury Subpoena Addressed to XYZ Corp.),

348 F.3d 16, 22 (1st Cir. 2003) (“Despite a grand jury’s vaunted right to every man’s evidence, it

must, nevertheless, respect a valid claim of privilege. But the party who invokes the privilege

bears the burden of establishing that it applies to the communications at issue and that it has not

been waived.”) (citations omitted).

                                  II.   Factual Background

       The detailed complaint herein alleges, inter alia, the following:

       1.       While he was in the sixth and seventh grades, the plaintiff’s son complained to the

principal of his Brunswick school that he had been verbally and physically harassed by other male

students because of his perceived sexual orientation. Complaint and Demand for Jury Trial;

Injunctive Relief Sought (“Complaint”) (ECF No. 1) ¶ 4.

       2.      The principal did not take this harassment seriously. Id.

       3.      When female students complained about derogatory sexual comments by male

students, their complaints were treated on a higher level than were complaints by the plaintiff and

her son. The “higher level” involved meeting with the alleged harassers and with their parents and

could involve a suspension. Id. ¶ 4.

       4.      The plaintiff’s son reported to at least three of his teachers that male students were

performing “the gay test” on him and would call him gay. Id. ¶ 14. The principal told the plaintiff



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that he would contact the parents of the four students who were performing the “test” on her son,

but he only spoke to the parents of one of these students. Id. ¶ 16.

        5.     During the 2010 to 2011 school year a group of male students frequently taunted

the plaintiff’s son when he was at his locker. Id. ¶ 20. When the victim told two of his teachers

about this harassment, they told him to “suck it up.” Id. ¶ 21. When he went to the principal, he

was only offered the option of moving to another locker. Id.

        6.     The plaintiff repeatedly complained to the principal during her son’s sixth grade

year about harassment and abuse of her son and was told, in effect, that “boys will be boys.” Id.

¶ 27.

        7.     During the seventh grade, a male student stabbed the plaintiff’s son with a pencil

in class. He reported this assault to the teacher and to the principal on the day when it happened.

Id. ¶ 36. He was repeatedly taunted during this school year by other male students for having

“man-boobs.” Id. ¶ 41. He reported this harassment to a teacher and repeatedly to the principal.

Id.

        8.     The plaintiff’s son reported several incidents of verbal and physical harassment to

the principal during the 2011-2012 school year, including two male students sexually assaulting

him in a bathroom in February 2012, and three boys sexually assaulting him in a school bathroom

in April 2012. Id. ¶¶ 53-65, 67-68.

        9.     In about early June 2012, the plaintiff’s son refused to return to his Brunswick

school. Id. ¶ 69. The school proposed a safety plan that made the plaintiff’s son feel even less

safe. Id. ¶¶ 70-71. On October 24, 2012, the plaintiff’s son refused to meet with school staff to

discuss the bullying. Id. ¶ 75. The plaintiff attended the meeting without her son but was told that

her son needed to attend the meeting. When she told her son that he needed to attend a meeting



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the next day at school, he had a panic attack. He then told his mother for the first time about the

sexual assaults he had suffered at school in 2011 and 2012. He has not attended his Brunswick

school since that date. Id. ¶¶ 76-77.

       10.     The plaintiff reported the sexual assaults to Brunswick Junior High School on about

October 25, 2012. Id. ¶ 78.

       11.     The plaintiff’s son was diagnosed with depression and post-traumatic stress

disorder (“PTSD”) as a result of assaults, abuse, and harassment that he suffered at his Brunswick

school. Id. ¶ 82.

       12.     The plaintiff filed a complaint against the defendants with the Maine Human Rights

Commission (“MHRC”) on July 30, 2012, alleging discrimination and retaliation against her son.

Id. ¶ 84. The MHRC investigator assigned to this complaint concluded that the school allowed a

hostile educational environment to persist for a lengthy period of time and that its response was

not appropriate when it became clear that the harassment was continuing. Id. ¶ 89. The MHRC

determined that there were reasonable grounds to believe that the school committed unlawful

discrimination against the plaintiff’s son for two and a half years. Id. ¶ 92.

       13.     As a result of this conduct, the plaintiff and her son have suffered and are continuing

to suffer, inter alia, emotional pain and distress, suffering, mental anguish, and loss of enjoyment

of life. Id. ¶¶ 100 (Count I), 104 (Count II), 110 (Count III).

                                        III.   Discussion

       The defendants seek the records of a therapist who treated the plaintiff’s son from

September 5, 2006, through November 17, 2010, and a counselor who has been seeing the

plaintiff’s son since January 2014, after he withdrew from his Brunswick school. Letter Brief

dated March 25, 2016, from Melissa A. Hewey, Esq. to Honorable John H. Rich III (“Defendants’



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Brief”) at 2; Letter Brief dated March 25, 2016, from David G. Webbert, Esq. to Honorable John

H. Rich III (“Plaintiffs’ Brief”) at 1. The plaintiff has produced the medical records of her son’s

current treating psychiatrist, his pediatrician, and a psychologist who treated him between October

2012 and October 2013, as well as a neuropsychological evaluation by a licensed psychologist.

Plaintiffs’ Brief at 3. She has invoked the psychotherapist-patient privilege as to the records at

issue.

         The plaintiff has offered in lieu of production of these records to withdraw

         all of her claims for damages that might forfeit [the psychotherapist-patient]
         privilege. Thus, she has offered—as a condition of preserving the psychotherapist-
         patient privilege regarding those records—that they will in return agree not to (1)
         pursue any damage claims for medically diagnosable (DSM) mental health
         conditions; (2) not rely on any medical or mental health experts or any medical or
         mental health records to prove damages; (3) not claim any damages based on
         hospitalizations or medical or mental health treatment; and (4) agree to limit their
         emotional distress claims to those emotional injuries arising as a fair consequence
         of the underlying claimed wrongful acts.

Id. at 4. She adds that she “is willing to consider other limitations on the damage claims to avoid

a judicial finding of forfeiture of the federal psychotherapist patient privilege regarding the

counseling records in question.” Id. at 5.

         The defendants take the position, Defendants’ Brief at 4, that the emotional distress that

gives rise to the plaintiffs’ claims for damages is not of the kind characterized as “garden variety”

emotional distress, the only type of claim for emotional distress that does not waive the

psychotherapist-patient privilege. Morrisette v. Kennebec Cty., No. Civ. 01-01-B-S, 2001 WL

969014, at *1 (D. Me. Aug. 21, 2001).

         Both sides of this dispute cite Stark v. Hartt Transp. Sys., Inc., No. 2:12-CV-195-NT, 2013

WL 358266 (D. Me. Jan. 28, 2013), in support of their respective positions. There is no question

that the records sought are relevant, the first consideration in Stark. Id. at *5. The fourth



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subsection of the plaintiffs’ proffered limitation on their emotional distress claims is taken from

language in Morrisette that is quoted in Stark. Id. at *9. However, Stark also quotes with approval

the following language from Willey v. Kirkpatrick, No. 07-CV-6484CJS, 2011 WL 4368692, at *3

(W.D.N.Y. Sept. 19, 2011):

       Garden variety claims refer to claims for compensation for nothing more than the
       distress that any healthy, well-adjusted person would likely feel as a result of being
       so victimized; claims for serious distress refer to claims for the inducement or
       aggravation of a diagnosable dysfunction or equivalent injury.

2013 WL 358266 at *9.

       That language is critical here, given the nature of the alleged torts and the emotional distress

alleged to have resulted, particularly in the case of the plaintiff’s son, who is alleged to have

suffered depression and PTSD “as a result of” the alleged harassment and violation of his rights.

In this case, it is readily apparent that the parties may have “very different notions of what could

grow in the garden,” Flowers v. C.O. Owens # 1585, 274 F.R.D. 218, 220 (N.D. Ill. 2011), “as a

fair consequence of an underlying tort.” Morrisette, 2001 WL 969014, at *2.

       “Garden variety emotional damages are: the distress than any healthy, well-adjusted person

would likely feel as a result of being so victimized[.]” Flowers, 274 F.R.D. at 225 (citation and

internal punctuation omitted). They are “those feelings what would likely be experienced by

anyone who experienced what the plaintiff alleges occurred[.]” Id. at 226.

        In this case, on the facts alleged in the complaint, the plaintiff and her son may well have

experienced emotional injuries that were, given their personal characteristics and pre-existing

conditions, in excess of those that would be likely to have been experienced by “any healthy, well-

adjusted person” who found himself in either plaintiff’s alleged position. As discussed in the

Flowers opinion, such heightened emotional injuries would exceed garden variety emotional

damages. To the extent that the plaintiffs seek such damages at trial, the defendants’ motion would


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be granted. However, in reliance and on the strength of the limitations offered by the plaintiffs to

their claims, the defendants’ motion is conditionally denied.

                                         IV.       Conclusion

       For the foregoing reasons, the motion to compel is DENIED upon the following specific

conditions:

       1. The plaintiffs do not pursue any claims for damages due to a medically diagnosable

              mental health condition.

       2. The plaintiffs do not rely on any medical or mental health experts, providers, or records

              to prove damages.

       3. The plaintiffs do not seek any damages based on hospitalizations or medical or mental

              health treatment or evaluation.

       4. The plaintiffs do not seek damages for emotional distress beyond that which would

              likely be felt by any healthy, well-adjusted person as a result of the causes of action

              that they continue to allege after the date of this order.

       If they choose not to abide by these limitations, the plaintiffs shall so inform the court and

opposing counsel no later than 10 days from the date of this order, in which case the motion to

compel will be deemed GRANTED.



                                                 NOTICE


        In accordance with Federal Rule of Civil Procedure 72(a), a party may serve and file an
objection to this order within fourteen (14) days after being served with a copy thereof.

         Failure to file a timely objection shall constitute a waiver of the right to review by the
district court and to any further appeal of this order.




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     Dated this 29th day of April, 2016.

                                               /s/ John H. Rich III
                                               John H. Rich III
                                               United States Magistrate Judge




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